                                       Case 3:21-cv-01626-EMC           Document 114        Filed 02/16/22     Page 1 of 20




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     THE WOMEN’S STUDENT UNION,                         Case No. 21-cv-01626-EMC
                                   8                    Plaintiff,                          ORDER GRANTING DEFENDANT’S
                                                                                            MOTION TO DISMISS FOR LACK OF
                                   9             v.                                         SUBJECT MATTER JURISDICTION,
                                                                                            AND DENYING AS MOOT MOTIONS
                                  10     U.S. DEPARTMENT OF EDUCATION,                      TO INTERVENE
                                  11                    Defendant.                          Docket Nos. 82, 88, 89
                                  12
Northern District of California
 United States District Court




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                                  14          Plaintiff the Women’s Student Union (“WSU”) sues Defendant the U.S. Department of
                                  15   Education (the “Department”) to set aside regulations enacted in 2020 that reduce federal
                                  16   protections for students enrolled in public schools from sexual harassment and sexual violence
                                  17   under Title IX of the Education Amendments of 1972, 20 U.SC. § 1681(a). See Docket No. 78
                                  18   (“FAC”) ⁋ 8 (citing 85 Fed. Reg. 30,026 (May 19, 2020) (codified at various places in 34 C.F.R.
                                  19   Pt. 106) (the “2020 Regulations”)). Plaintiff alleges that the 2020 Regulations violate the
                                  20   Administrative Procedure Act (APA), 5 U.S.C. §§ 706(2)(A), (C), because they are contrary to the
                                  21   text and purpose of Title IX. FAC § Claim ¶¶ 1-7. The Court previously dismissed Plaintiff’s
                                  22   complaint because, as alleged, the complaint did not demonstrate that Plaintiff had standing under
                                  23   Article III to pursue its claims. Docket No. 75 (“Dismissal Order”). The Court granted Plaintiff
                                  24   leave to amend its complaint, which Plaintiff did.
                                  25          Now pending before the Court is the Department’s motion to dismiss Plaintiff’s First
                                  26   Amended Complaint for lack of subject matter jurisdiction pursuant to Federal Rule of Civil
                                  27   Procedure 12(b)(1). See Docket No. 89 (“MTD”). Also pending before the Court are motions to
                                  28   intervene as Defendants by the State of Texas and three groups – the Foundation for Individual
                                       Case 3:21-cv-01626-EMC           Document 114         Filed 02/16/22      Page 2 of 20




                                   1   Rights in Education, Independent Women’s Law Center, and Speech First, Inc. Docket Nos. 82,

                                   2   88.

                                   3          For the following reasons, the Court GRANTS the Department’s motion because Plaintiff

                                   4   lacks standing. Accordingly, the Court DENIES as moot the motions to intervene.

                                   5                                        I.      BACKGROUND

                                   6   A.     Title IX Enforcement Before the 2020 Regulations

                                   7          Title IX of the Education Amendments states that “[n]o person in the United States shall,

                                   8   on the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

                                   9   discrimination under any education program or activity receiving Federal financial assistance.” 20

                                  10   U.S.C § 1681(a). The statute defines “program or activity” as “all of the operations” of a school,

                                  11   “any part of which is extended Federal financial assistance.” Id. § 1687. Federal agencies that

                                  12   disburse funds to educational institutions—including the Department of Education—are
Northern District of California
 United States District Court




                                  13   “authorized and directed” by Congress to “effectuate the provisions of” Title IX “by issuing rules,

                                  14   regulations, or orders of general applicability.” Id. § 1682. These agencies can compel school

                                  15   districts to comply with the provisions of Title IX—and its implementing regulations—by

                                  16   threatening to withhold federal education funds from noncompliant school districts. Id.

                                  17          There are two ways to enforce Title IX. First, a plaintiff (usually a student) can sue a

                                  18   school for damages in federal court as Title IX provides a private right of action. See Franklin v.

                                  19   Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 76 (1992). In such cases, however, students can recover

                                  20   “only for harassment that is so severe, pervasive, and objectively offensive that it effectively bars

                                  21   the victim’s access to an educational opportunity or benefit,” and they must prove the school’s

                                  22   “deliberate indifference to known acts of harassment in its programs or activities.” Davis v.

                                  23   Monroe Cnty. Bd. of Educ., 526 U.S. 629, 633 (1999). This standard is met only if “an official

                                  24   who at a minimum has authority to address the alleged discrimination and to institute corrective

                                  25   measures on the recipient’s behalf has actual knowledge of discrimination in the recipient’s

                                  26   programs and fails adequately to respond.” Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274,

                                  27   290 (1998). This strict definition of sexual harassment and the requirements of actual knowledge

                                  28   and deliberate indifference are known as the “Gebser/Davis framework.” 85 Fed. Reg. at 30,032.
                                                                                         2
                                       Case 3:21-cv-01626-EMC           Document 114         Filed 02/16/22      Page 3 of 20




                                   1          Second, Title IX may be enforced administratively by the Department through the issuance

                                   2   of rules, regulations, and guidance documents. See Gebser, 524 U.S. at 292 (“Agencies generally

                                   3   have authority to promulgate and enforce requirements that effectuate the statute’s

                                   4   nondiscrimination mandate, 20 U.S.C. § 1682, even if those requirements do not purport to

                                   5   represent a definition of discrimination under the statute.”). The Department’s own regulations

                                   6   require its Office for Civil Rights (OCR) to investigate any administrative complaint it receives

                                   7   from a member of the public that indicates gender-based discrimination or sexual harassment. See

                                   8   34 C.F.R. § 100.7(c) (“[R]esponsible Department official or his designee will make a prompt

                                   9   investigation whenever a . . . complaint . . . indicates a possible failure to comply.” (emphasis

                                  10   added)); id. § 106.71 (Title IX regulation incorporating the procedural provisions of the

                                  11   Department’s Title VI regulations). If the investigation “indicates a failure to comply” with the

                                  12   regulations, the OCR “will so inform the recipient and the matter will be resolved by informal
Northern District of California
 United States District Court




                                  13   means whenever possible.” Id. § 106.7(c). Because investigations are required, Plaintiff alleges

                                  14   school districts are almost always willing to settle to avoid the termination of their federal funding.

                                  15   See FAC ⁋ 75.

                                  16          Plaintiff alleges that prior to the 2020 Regulations, the Department’s guidance

                                  17   “consistently rejected the view that the courts’ standards for determining whether a private

                                  18   damages action could be brought against a school should be incorporated into its administrative

                                  19   enforcement process.” FAC ⁋⁋ 27–28 (citing Sexual Harassment Guidance, 62 Fed. Reg. 12,034

                                  20   (Mar. 13, 1997) (the “1997 Guidance”); Revised Sexual Harassment Guidance, 66 Fed. Reg.

                                  21   5,512-01 (Jan. 19, 2001) (the “2001 Guidance”)). Instead, the 2001 Guidance adopted a scope of

                                  22   liability for administrative enforcement of Title IX broader than the Gebser/Davis framework. It:

                                  23   (1) defined sexual harassment as “unwelcome conduct of a sexual nature” that is “severe,

                                  24   persistent, or pervasive;” and (2) stated that a school may be liable “whether or not it has ‘notice’

                                  25   of the harassment.” U.S. Dep’t of Educ., Off. for Civil Rights, Revised Sexual Harassment

                                  26   Guidance: Harassment of Students by School Employees, Other Students, or Third Parties (Jan.

                                  27   19, 2001), https://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf (emphasis added).

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                                       Case 3:21-cv-01626-EMC            Document 114          Filed 02/16/22    Page 4 of 20




                                   1   B.     The 2020 Regulations Incorporated the Gebser/Davis Framework

                                   2          On May 19, 2020, under the leadership of then-Secretary of Education Elisabeth DeVos,

                                   3   the Department issued the 2020 Regulations, which repudiated the Department’s prior guidance,

                                   4   and largely aligned the standards for the OCR’s adjudication of Title IX administrative complaints

                                   5   with the Gebser/Davis framework. See 85 Fed. Reg. at 30,033 (“The Department believes that

                                   6   adapting the Gebser/Davis framework is appropriate for administrative enforcement, because the

                                   7   adapted conditions (definitions of sexual harassment and actual knowledge) and liability standard

                                   8   (deliberate indifference) reflected in these final regulations promote important policy objectives

                                   9   with respect to a recipient’s legal obligations to respond to sexual harassment.”). Under the 2020

                                  10   Regulations which narrowed the scope of liability, according to Plaintiff, schools must respond

                                  11   only to harassment that (1) is severe, pervasive, and objectively offensive conduct, (2) takes place

                                  12   on school grounds (or in an education program), regardless of where its effect is felt; (3) a school
Northern District of California
 United States District Court




                                  13   employee has actual knowledge of the harassment; and that (4) a school may act with indifference

                                  14   to the harassment, as long as it avoids being ‘deliberately indifferent. FAC ¶¶ 38, 48-49, 54, 60;

                                  15   see also 85 Fed. Reg. at 30,032–34.

                                  16   C.     Plaintiff’s Injuries as Alleged in the FAC

                                  17          WSU is an approved student body association of California’s Berkeley Unified School

                                  18   District (“BUSD”). FAC ¶ 76. Plaintiff’s mission is to reduce instances of sexual harassment and

                                  19   address barriers to success and wellbeing for young women and non-binary students at Berkeley

                                  20   High School (“BHS”) by (1) advocating that the school district adopt policies to protect its

                                  21   members and the student body from sex discrimination and sexual harassment; and (2) providing

                                  22   training to the student body about their rights and responsibilities under school policy, state law,

                                  23   and federal law. See id. ¶¶ 78-79.

                                  24          Plaintiff alleges that members of WSU have been subject to various forms of sexual

                                  25   harassment. FAC ¶¶ 88-89, 91-93, 97-98. Those experiences result in significant obstacles to

                                  26   those students’ ability to learn and thrive in school—obstacles that “result not just from the initial

                                  27   harassment alone, but also because their school fails to respond to the harassment promptly and

                                  28   appropriately.” Id. ¶¶ 2-5, 15.
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                                       Case 3:21-cv-01626-EMC             Document 114          Filed 02/16/22      Page 5 of 20




                                   1          Plaintiff alleges that because BUSD has consistently failed to address sexual harassment

                                   2   adequately, WSU would like the Department to investigate BUSD and spur policy changes. FAC

                                   3   ¶ 83. In February 2021, WSU filed an administrative complaint with the Department’s Office of

                                   4   Civil Rights against BUSD alleging several violations of Title IX that Plaintiff contends “are no

                                   5   longer cognizable,” id. ¶ 86, and, but for the 2020 Regulations, it would seek to allege further

                                   6   violations, including:

                                   7                  •         Off-campus harassment: BUSD allegedly has an official and
                                                                explicit policy of not addressing any harassment that occurs
                                   8                            outside of school, even if it affects students’ ability to learn.
                                                                Id. ¶ 93. WSU specifically complained to the Department
                                   9                            about harassment that a WSU member had been subjected to
                                                                by a classmate, “John,” who repeatedly texted and made
                                  10                            unwanted sexual comments about her body. Id. ¶¶ 91, 104.
                                                                Additionally, since the February 2021 complaint, a different
                                  11                            WSU member was repeatedly harassed by John on a public
                                                                bus they both take to school, where he allegedly made
                                  12                            sexually explicit comments and touched the members
Northern District of California
 United States District Court




                                                                shoulder and legs. Id. ¶ 92. WSU alleges it would complain
                                  13                            of those events to the Department if the 2020 Regulations
                                                                did not make it futile to do so. Id. ¶ 105.
                                  14
                                                      •         Severe or pervasive harassment: Much of the sexual
                                  15                            harassment that WSU members and other BHS students
                                                                experience is severe but not pervasive, or pervasive but not
                                  16                            severe, but not both severe and pervasive, such as unwanted
                                                                sexual comments in class or walking through the halls my
                                  17                            multiple classmates against a single target individual. FAC ¶
                                                                87. For example, in September 20201, John harassed WSU
                                  18                            member “Jamie” in a shared class by telling her of explicit
                                                                details about his penis. Id. ¶ 89.
                                  19
                                                      •         Harassment of which BUSD should know: In Plaintiff’s
                                  20                            February 2021 complaint, it complained about hostile
                                                                environments that occurred in Zoom “breakout rooms”
                                  21                            during remote learning about which the school had
                                                                constructive but not actual knowledge. Id. ¶¶ 97-99.
                                  22

                                  23          According to Plaintiff, “but for the Department 2020 Regulations,” WSU’s administrative

                                  24   complaint would be opened by investigation by the Department’s Office for Civil Rights, but

                                  25   because the 2020 regulations no longer make their allegations unlawful, “without a doubt, [OCR}

                                  26   cannot investigate and find BUSD in violation of Title for how it handled” the complained-of

                                  27   sexual harassment. FAC ¶ 106. Plaintiff observes that despite its prompt replies to follow up

                                  28   questions from OCR regarding its February 2021 administrative complaint, to date (nearly one
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                                       Case 3:21-cv-01626-EMC            Document 114         Filed 02/16/22      Page 6 of 20




                                   1   year after the complaint was filed), OCR has yet to resolve the complaint, let alone open an

                                   2   investigation. Id. ¶ 114. Plaintiff alleges that it has not heard anything from OCR about the status

                                   3   of its administrative complaint since July 6, 2021. Id. ¶ 113.

                                   4          Plaintiff alleges that it has suffered “procedural injury” because “the 2020 Regulations

                                   5   deny WSU and its members the right they had prior to the 2020 Regulations to have their

                                   6   administrative complaints investigated.” Id. ¶ 115. The denial of that “procedural right,” Plaintiff

                                   7   contends, “impinges on the concrete interest of WSU and its members to participate in and benefit

                                   8   from BUSD’s education program because the denial allows the hostile environment at BUSD to

                                   9   continue unremediated.” Id. ¶ 116. Plaintiff further alleges that “the cumulative effect of each of

                                  10   the challenged 2020 Regulations” is to “lead to students experiencing more sexual harassment and

                                  11   receiving fewer remedies.” Id. ¶ 120. The Regulations are also alleged to injure Plaintiff because

                                  12   they create an incentive for schools like BHS to “avoid learning about the harassment its students
Northern District of California
 United States District Court




                                  13   experience, in order to avoid triggering any obligations under the Regulations” and “discourage

                                  14   students from filing complaints with their schools in the first place.” Id. ¶¶ 121-22. Finally,

                                  15   Plaintiff alleges that the 2020 Regulations “discourage BUSH From taking action that were

                                  16   previously required under the Department’s prior interpretations of Title IX” and, thus, “deprive

                                  17   WSU of a critical bargaining tool as it seeks to achieve. . . changes at BHS as part of WSU’s

                                  18   organizational purpose.” Id. ¶ 127.

                                  19   D.     Procedural Background and Recent Events

                                  20          On March 8, 2021, WSU filed this action challenging the 2020 Regulations as unlawful

                                  21   under the Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2). WSU alleges that the 2020

                                  22   Regulations are arbitrary and capricious, not supported by a reasoned explanation, and conflict

                                  23   with Title IX. FAC at 30-31.

                                  24          On September 2, 2021, the Court granted the Department’s motion to dismiss the

                                  25   complaint for lack of jurisdiction because Plaintiff failed to sufficiently allege organizational or

                                  26   associational standing. See Dismissal Order. With respect to organizational standing, the Court

                                  27   explained that “Plaintiff may not establish injury by engaging in activities that it would normally

                                  28   pursue as part of its organizational mission” and that Plaintiff’s alleged “injuries” (e.g.,
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                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22     Page 7 of 20




                                   1   investigating allegations of sexual harassment, meeting with school administrators) were typical

                                   2   pursuits. Id. at 9–11. Similarly, on associational standing, the Court explained, “Plaintiff fails to

                                   3   plausibly allege that its members would otherwise have standing to sue in their own right,” so it

                                   4   could not establish standing on their behalf. Id. at 13–14. The Court granted Plaintiff leave to

                                   5   amend its complaint.

                                   6          On October 4, 2021, Plaintiff timely filed an amended complaint which includes additional

                                   7   allegations related to WSU members’ experiences of sexual harassment, that WSU and its member

                                   8   would file additional administrative complaints with the Department but for the 2020 Regulations,

                                   9   and that the Department had still not responded to WSU’s administrative complaint. See generally

                                  10   FAC ¶¶ 86-114.

                                  11          On January 19, 2022, the Department’s Office for Civil Rights issued a letter to Plaintiff’s

                                  12   counsel stating that it “understands [Plaintiff’s] allegations to be that [BUSD] has allowed a
Northern District of California
 United States District Court




                                  13   hostile environment on the basis of sex to exist at Berkeley High School by failing to respond

                                  14   promptly and effectively to incidents of sexual harassment at the School from the 2018-19 school

                                  15   year to the present.” Docket No. 111-1 at 2. The letter further stated that “OCR is opening the

                                  16   complaint allegation for investigation.” Id. OCR noted that “with regard to alleged incidents that

                                  17   occurred prior to [August 14, 2020], OCR is evaluating [Plaintiff’s] complaint based on the prior

                                  18   Title IX regulation that was in effect at the time when the alleged acts occurred,” id. at 2 n.1,

                                  19   implying that incidents which occurred after August 14, 2020 would be evaluated under the 2020

                                  20   Regulations. That same day, the Department’s OCR issued a letter informing BUSD’s

                                  21   Superintendent that it had opened an investigation of the District. Docket No. 112-2.

                                  22          Now pending is the Department’s motion to dismiss Plaintiff’s First Amended Complaint

                                  23   for lack of jurisdiction because Plaintiff lacks standing. See MTD. Also pending before the Court

                                  24   are motions to intervene as Defendants by the State of Texas and three groups – the Foundation

                                  25   for Individual Rights in Education, Independent Women’s Law Center, and Speech First, Inc.

                                  26   Docket Nos. 82, 88.

                                  27   ///

                                  28   ///
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                                       Case 3:21-cv-01626-EMC              Document 114        Filed 02/16/22      Page 8 of 20




                                   1                                   II.      STANDARD OF REVIEW

                                   2   A.      Lack of Subject Matter Jurisdiction/Standing (Rule 12(b)(1))

                                   3           Under Rule 12(b)(1), a party may move to dismiss for lack of subject matter jurisdiction.

                                   4   “[L]ack of Article III standing requires dismissal for lack of subject matter jurisdiction under

                                   5   [Rule] 12(b)(1).” Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011). The “irreducible

                                   6   constitutional minimum” of standing requires that a “plaintiff must have (1) suffered an injury in

                                   7   fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

                                   8   be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins (“Spokeo II”), 136 S. Ct.

                                   9   1540, 1547 (2016). These three elements are referred to as, respectively, injury-in-fact, causation,

                                  10   and redressability. Planned Parenthood of Greater Was. & N. Idaho v. U.S. Dep't of Health &

                                  11   Human Servs., 946 F.3d 1100, 1108 (9th Cir. 2020). “The plaintiff, as the party invoking federal

                                  12   jurisdiction, bears the burden of establishing these elements,” which at the pleadings stage means
Northern District of California
 United States District Court




                                  13   “clearly . . . alleg[ing] facts demonstrating each element.” Spokeo II, 136 S. Ct. at 1547 (quoting

                                  14   Warth v. Seldin, 422 U.S. 490, 518 (1975)).

                                  15           A Rule 12(b)(1) jurisdictional attack may be factual or facial. See Safe Air for Everyone v.

                                  16   Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). “In a facial attack,” “the challenger asserts that the

                                  17   allegations contained in a complaint are insufficient on their face to invoke federal jurisdiction.”

                                  18   Id. The court “resolves a facial attack as it would a motion to dismiss under Rule 12(b)(6):

                                  19   Accepting the plaintiff’s allegations as true and drawing all reasonable inferences in the plaintiff’s

                                  20   favor, the court determines whether the allegations are sufficient as a legal matter to invoke the

                                  21   court’s jurisdiction.” Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014).

                                  22           “[I]n a factual attack, the challenger disputes the truth of the allegations that, by

                                  23   themselves, would otherwise invoke federal jurisdiction.” Safe Air for Everyone, 373 F.3d at

                                  24   1038. In resolving such an attack, unlike with a motion to dismiss under Rule 12(b)(6), the Court

                                  25   “may review evidence beyond the complaint without converting the motion to dismiss into a

                                  26   motion for summary judgment.” Id. Moreover, the court “need not presume the truthfulness of

                                  27   the plaintiff's allegations.” Id.

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                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22     Page 9 of 20




                                   1          Either way, “it is within the trial court’s power to allow or to require the plaintiff to supply,

                                   2   by amendment to the complaint or by affidavits, further particularized allegations of fact deemed

                                   3   supportive of plaintiff’s standing.” Warth, 422 U.S. at 501; see also Table Bluff Reservation

                                   4   (Wiyot Tribe) v. Philip Morris, Inc., 256 F.3d 879, 882 (9th Cir. 2001) (in assessing standing, the

                                   5   court may consider “the complaint and any other particularized allegations of fact in affidavits or

                                   6   in amendments to the complaint”).

                                   7                                         III.     DISCUSSION

                                   8          In response to the Department’s motion to dismiss the First Amended Complaint for lack

                                   9   of subject matter because Plaintiff does not have standing, Plaintiff does not argue it has

                                  10   organizational standing, as it did in defending its standing to pursue the initial complaint. Cf.

                                  11   Dismissal Order at 8-13. Instead, Plaintiff contends that WSU “has standing in its own right and

                                  12   on behalf of its members” under the “special standing doctrine [which] applies when litigants
Northern District of California
 United States District Court




                                  13   attempt to vindicate procedural rights.” Docket No. 103 (“Opp.”) at 16-17 (citing Ctr. for Auto

                                  14   Safety, Inc. v. Nat’l Highway Traffic Safety Admin., 342 F. Supp. 2d 1, 11-12 (D.D.C. 2004))

                                  15   (emphasis added); see also id. at 22-23 (“WSU does not allege an organizational standing theory;

                                  16   WSU argues instead that it has been deprived of a procedural right designed to protect the concrete

                                  17   interests of WSU and its members.”). Plaintiff argues that the 2020 Regulations “strip them

                                  18   [WSU and its members] of their procedural right to trigger an investigation of BUSD through [the

                                  19   Department’s] administrative complaint system for certain types of sexual harassment that WSU

                                  20   members have experienced and that is no longer considered a violation of Title IX.” Opp. at 17

                                  21   (emphasis added).

                                  22          While Plaintiff artfully frames the complaint as a dispute over procedure, at its core, the

                                  23   FAC takes issue with the substance of the 2020 Regulations. Plaintiff alleges that the substance of

                                  24   the 2020 Regulations violate the APA and Title IX. FAC § Claim ¶¶ 1-7. Plaintiff’s allegations

                                  25   of deprivations of process are derivative of Plaintiff’s challenges to the legality of the substance of

                                  26   the Regulations. Therefore, as explained below, the Court finds that Plaintiff has not plausibly

                                  27   alleged procedural injury to establish Article III standing to pursue this action.

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                                       Case 3:21-cv-01626-EMC           Document 114           Filed 02/16/22     Page 10 of 20




                                   1   A.      Standing Analysis for Procedural Injury

                                   2           As noted above, WSU does not advance a conventional theory of standing based on

                                   3   organizational or associational standing. Instead, it relies on standing based on procedural injury.

                                   4   “A special standing doctrine applies when litigants attempt to vindicate procedural rights, such as

                                   5   the right to have notice of proposed regulatory action and to offer comments relating to such

                                   6   action.” Ctr. For Auto Safety, Inc., 342 F. Supp. 2d at 11-12 (citing Sugar Cane Growers Coop. of

                                   7   Florida v. Veneman, 289 F.3d 89, 94–95 (D.C. Cir. 2002)). To show a cognizable procedural

                                   8   injury for standing purposes, “[a plaintiff] must allege. . . that (1) the [agency] violated certain

                                   9   procedural rules; (2) these rules protect [a plaintiff's] concrete interests; and (3) it is reasonably

                                  10   probable that the challenged action will threaten their concrete interests.” Citizens for Better

                                  11   Forestry v. U.S. Dep't of Agric., 341 F.3d 961, 969–70 (9th Cir. 2003).

                                  12           As to the first prong, “Procedural injury results from the violation of a statute or regulation
Northern District of California
 United States District Court




                                  13   that guarantees a particular procedure.” Californians for Renewable Energy v. United States

                                  14   Env’t Prot. Agency, No. C 15-3292 SBA, 2018 WL 1586211, at *7 (N.D. Cal. Mar. 30, 2018)

                                  15   (citing West v. Sec’y of Dep’t of Transp., 206 F.3d 920, 930 n.14 (9th Cir. 2000)) (emphasis

                                  16   added); see also Citizens for Better Forestry, 341 F.3d at 970–71 (“[W]holesale neglect of the

                                  17   regulations' mandatory inclusion of the public in the process results in a procedural injury.”)

                                  18   (footnote and citation omitted, emphasis added); City of Sausalito v. O'Neill, 386 F.3d 1186, 1197

                                  19   (9th Cir. 2004) (“[A] cognizable procedural injury exists for Article III purposes when, because of

                                  20   a failure to honor a statutorily required procedure, it is ‘reasonably probable that the challenged

                                  21   action will threaten [a plaintiff's] concrete interests.’”) (emphasis added); Fla. Audubon Soc. v.

                                  22   Bentsen, 94 F.3d 658, 664 (D.C. Cir. 1996) (“a plaintiff may have standing to challenge the failure

                                  23   of an agency to abide by a procedural requirement”) (emphasis added). Procedural injury flows

                                  24   from the violation of a procedural right; a deprivation of a required process to which plaintiff is

                                  25   entitled as a matter of law.

                                  26           “[A] substantive injury results from the violation of a statute or regulation that guarantees a

                                  27   particular result.” Californians for Renewable Energy, 2018 WL 1586211, at *7 (emphasis

                                  28   added). In contrast, a procedural right exists irrespective of the ultimate merits or outcome of the
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                                       Case 3:21-cv-01626-EMC           Document 114           Filed 02/16/22    Page 11 of 20




                                   1   substantive action that may be taken. See, e.g., City of Sausalito, 386 F.3d at 1197 (“For purposes

                                   2   of Article III standing, we do not require a plaintiff to demonstrate that a procedurally proper

                                   3   [Environmental Impact Statement] will necessarily protect his or her concrete interest in the

                                   4   park.”).

                                   5          On the second prong, “[i]n the context of procedural violations, the injury-in-fact

                                   6   requirement is met if ‘the procedures in question are designed to protect some threatened concrete

                                   7   interest of [the plaintiff] that is the ultimate basis of [its] standing.’” Nat’l Fam. Farm Coal. V.

                                   8   EPA, 966 F.3d 893, 909 (9th Cir. 2020) (quoting Salmon Spawning & Recovery All. V. Gutierrez,

                                   9   545 F.3d 1220, 1225 (9th Cir. 2008)); see also Ctr. for L. & Educ. v. Dep't of Educ., 396 F.3d

                                  10   1152, 1159–60 (D.C. Cir. 2005) (“Appellants must show both (1) that their procedural right has

                                  11   been violated, and (2) that the violation of that right has resulted in an invasion of their concrete

                                  12   and particularized interest. ‘[A] prospective plaintiff must demonstrate that the defendant caused
Northern District of California
 United States District Court




                                  13   the particularized injury, and not just the alleged procedural violation.’”) (citation omitted).

                                  14          And, on the third prong, a plaintiff “need only show that the exercise of a procedural right

                                  15   ‘could protect [its] concrete interests.” Id. (quoting Cent. Delta Water Agency v. United States,

                                  16   306 F.3d 938, 950 (9th Cir. 2002), and Cottonwood Env’t Law Ctr. V. U.S. Forest Serv., 789 F.3d

                                  17   1075, 1082 (9th Cir. 2015). The focus is on process, not outcome.

                                  18          Accordingly, a plaintiff’s “successful showing of a procedural injury lightens its burden on

                                  19   the remaining Article III standing requirements.” Tinian Women Ass’n v. U.S. Dep’t of the Navy,

                                  20   976 F.3d 832, 840 (9th Cir. 2020). Specifically, a plaintiff “can establish standing without

                                  21   meeting all the normal standards for redressability and immediacy.” Hall v. Norton, 266 F.3d 969,

                                  22   975-77 (9th Cir. 2001) (quotation omitted). “When alleging the deprivation of a procedural right,

                                  23   ‘instead of needing to establish that compelling the agency to follow the correct procedure would

                                  24   lead to a substantive result that favors the petitioner’s concrete interests, the petitioner need only

                                  25   show that its concrete interests could be better protected.’” Young v. Trump, 506 F. Supp. 3d 921,

                                  26   935 (N.D. Cal. 2020) (quoting Narragansett Indian Tribal Historic Pres. Office v. FERC, 949

                                  27   F.3d 8, 13 (D.C. Cir. 2020)).

                                  28
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                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22     Page 12 of 20




                                   1   B.     Plaintiff’s Alleged Procedural Injury

                                   2          Plaintiff argues that it has suffered procedural injury-in-fact because “[t]he 2020

                                   3   Regulations narrow and weaken an administrative enforcement scheme that was previously

                                   4   available to WSU and its members” – the Department’s mandatory obligation to “make a prompt

                                   5   investigation whenever. . . a complaint . . . indicates a possible failure to comply” with the

                                   6   protections of Title IX. Opp. at 17 (citing 34 C.F.R. § 100.7). Plaintiff argues that it has

                                   7   adequately alleged procedural injury because the FAC “alleges BUSD policies and practices, and

                                   8   numerous instances of unchecked harassment suffered by students, that can no longer trigger an

                                   9   investigation by [the Department].” Id. at 18. Plaintiff contends that the procedural mechanism of

                                  10   the Department conducting an Investigation protected Plaintiff’s concrete interest in “protect[ing]

                                  11   students, like WSU’s members, from sexual harassment and to ensure that they can learn in an

                                  12   environment safe from unlawful discrimination.” Opp. at 20.
Northern District of California
 United States District Court




                                  13          Plaintiff’s theory of injury, however, fails to satisfy the first prong of the procedural injury

                                  14   standard: it does not allege a “violation of a statute or regulation that guarantees a particular

                                  15   procedure.” Californians for Renewable Energy, 2018 WL 1586211, at *7 (emphasis added);

                                  16   Citizens for Better Forestry, 341 F.3d at 969-70.

                                  17          The source of the procedural right which Plaintiff alleges the Department violated is 34

                                  18   C.F.R § 100.7(c). That provision provides, in relevant part:

                                  19                  Investigations. The responsible Department official or his designee
                                                      will make a prompt investigation whenever a compliance review,
                                  20                  report, complaint, or any other information indicates a possible
                                                      failure to comply with this part.
                                  21

                                  22   Id. (emphases added). There is no guarantee of an investigation. The Department’s obligation to

                                  23   “make a prompt investigation” is contingent on the Department’s receipt of information, including

                                  24   through a complaint, which the Department determines “indicates a possible failure to comply”

                                  25   with the relevant substantive law. Id. Under § 100.7(c), the Department is not required to

                                  26   conduct an investigation upon the receipt of any complaint, and Plaintiff is not entitled to an

                                  27   investigation by simply submitting a complaint. Instead, an investigation only becomes

                                  28   mandatory upon the Department if the Department determines that there is “a possible failure to
                                                                                         12
                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22     Page 13 of 20




                                   1   comply” with the substance of the Title IX regulations.

                                   2          This regulatory provision contrasts with the unqualified, mandatory, procedural

                                   3   requirements extant in cases finding procedural injury. See, e.g., California v. Azar, 911 F.3d 558,

                                   4   571 (9th Cir. 2018) (finding procedural injury where agency issued “[interim final rules] without

                                   5   notice and comment as required under the [Administrative Procedure Act]”) (emphasis added);

                                   6   Citizens for Better Forestry, 341 F.3d at 970 (“Citizens were deprived of the opportunity to

                                   7   comment on the USDA's EA and FONSI at all points in the rulemaking process. This deprivation

                                   8   violated their rights under the regulations implementing NEPA. See 40 C.F.R. § 1501.4(b) (‘The

                                   9   agency shall involve the public, to the extent practicable, in preparing [EAs] ....’); id. § 1506.6

                                  10   (‘Agencies shall ... [m]ake diligent efforts to involve the public in preparing and implementing

                                  11   their NEPA procedures[,] ... [p]rovide public notice of ... the availability of environmental

                                  12   documents so as to inform those persons ... who may be interested or affected[,][and] ... [s]olicit
Northern District of California
 United States District Court




                                  13   appropriate information from the public.’)”); Beeman v. TDI Managed Care Servs., Inc., 449 F.3d

                                  14   1035, 1039 (9th Cir. 2006) (“Plaintiffs make out a procedural injury: the failure on the part of the

                                  15   [Pharmacy Benefit Managers] to follow the statutory procedures requiring they conduct studies

                                  16   and provide them to third parties” where the relevant statutory provision stated “study report. . .

                                  17   shall be transmitted by certified mail by each prescription drug claims processor to the chief

                                  18   executive officer or designee, of each client for whom it performs claims processing services. . .

                                  19   no less often than every 24 months”). Plaintiff fails to cite any cases finding procedural injury

                                  20   involving similar procedural rules that are contingent on an agency’s determination of substantive

                                  21   violations of law.

                                  22          Contrary to Plaintiff’s assertions, the harm that Plaintiff alleges – its inability to “trigger an

                                  23   investigation” by the Department pursuant to the pre-2020 rules – does not stem from deficiencies

                                  24   or failures in the Department’s compliance with the process set out in 34 C.F.R. § 100.7(c).

                                  25   Plaintiff does not challenge the Department’s procedures for reviewing or adjudicating

                                  26   administrative complaints, which are set forth in the Department’s Case Processing Manual. FAC

                                  27   ¶ 66. Plaintiff does not allege that any of the Case Processing Manual procedures are unlawful,

                                  28   nor that the Department failed to comply with the Case Processing Manual procedures. Instead,
                                                                                         13
                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22     Page 14 of 20




                                   1   Plaintiff challenges, in essence, the substance of the 2020 Regulations – the Department’s changes

                                   2   to the substantive definitions of what constitutes sexual harassment, where harassment must take

                                   3   place to trigger affirmative obligations by a school, and the standard by which liability of a school

                                   4   is assessed. See FAC ¶¶ 86-103.

                                   5          Plaintiff’s briefing acknowledges that its theory of procedural injury is dependent on its

                                   6   argument that the substance of the challenged 2020 Regulations is unlawful:

                                   7                  In other words, [the Department’s] interpretation of the substantive
                                                      scope of Title IX determines the availability of its administrative
                                   8                  enforcement mechanism. If a complaint does not allege conduct
                                                      that, if true, would violate Title IX, then [the Department] cannot
                                   9                  investigate. But if it does, [the Department] must open an
                                                      investigation—and if that investigation further reveals conduct that
                                  10                  violates Title IX, [the Department] must provide appropriate
                                                      remedies.
                                  11

                                  12   Opp. at 18 (emphasis added).
Northern District of California
 United States District Court




                                  13          That Plaintiff’s concern is with the substance of the laws it challenges, not the procedure,

                                  14   is further evinced by the relief that Plaintiff seeks in this case -- a “permanent injunction holding

                                  15   unlawful and setting aside the [2020] Regulations challenged in this Complaint.” FAC at 32.

                                  16   Such relief would not limited to requiring a procedure; it would change the substantive meaning

                                  17   of the Title IX regulations.

                                  18          The Department argues with some merit that Plaintiff’s assertion of a procedural injury, if

                                  19   accepted here, would “render every law procedural”:

                                  20                  After all, every change to substantive law affects the type of
                                                      complaints that may be filed: for example, a tort reform law that
                                  21                  eliminates certain torts narrows the type of complaints that may be
                                                      filed; prohibiting discrimination on the basis of sexual orientation
                                  22                  broadens the type of charges that may be filed with the Equal
                                                      Employment Opportunity Commission; and establishing what forms
                                  23                  of sexual harassment violate Title IX affects the type of
                                                      administrative complaints that may be filed with the Department.
                                  24

                                  25   Reply at 7.

                                  26          Indeed, the logic of Plaintiff’s standing theory is not limited to changes in Title IX’s

                                  27   investigation criteria. If it is claimed that the 2001 regulations were insufficiently protective of

                                  28   victims of sex discrimination and harassment, the claimant could have standing to challenge even
                                                                                         14
                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22    Page 15 of 20




                                   1   those regulations under the procedural injury theory; the OCR investigation would not be available

                                   2   on as a broad a basis as that claimant believes is proper. In short, Plaintiff’s procedural injury

                                   3   theory is expansive and would not be limited to changes in the Department’s regulations.

                                   4          Plaintiff’s reliance on Young v. Trump, 506 F. Supp. 3d. 921, 935 (N.D. Cal. 2020), appeal

                                   5   dismissed sub nom. Young v. Biden, 2021 WL 3507648 (9th Cir. Mar. 16, 2021), is misplaced. In

                                   6   Young, this Court found procedural injury where Plaintiffs alleged a “complete freeze of their

                                   7   beneficiaries’ immigrant visa petitions.” Id. The Court reasoned that Plaintiffs’ “important

                                   8   procedural right” was violated by the alleged fact that “consular officials [were] categorically

                                   9   precluded from processing Plaintiffs’ immigrant visa applications.” Id. at 936. The alleged

                                  10   violation was not concerned with the substantive standard for issuance of a visa, but the procedural

                                  11   right conferred by statute of obtaining the timely processing and adjudication of the visa

                                  12   applications. That procedural right obtained irrespective of the ultimate outcome of the
Northern District of California
 United States District Court




                                  13   adjudication.

                                  14          Similarly, Plaintiff’s citations to three other cases purportedly finding procedural injury,

                                  15   Opp. at 21, are inapposite. Unlike here, two of those cases involved claims challenging specific,

                                  16   mandatory, procedural rules established by law, rights were not qualified by the agency’s

                                  17   determination of whether substantive standards were met. See Nat'l Fed'n of the Blind v. United

                                  18   States Dep't of Educ., 407 F. Supp. 3d 524, 533-34 (D. Md. 2019) (“the Amended Complaint

                                  19   alleges that OCR complaints filed by COPAA member Katie Kelly, an attorney for students with

                                  20   disabilities, were subject to dismissal under the March 2018 Manual” pursuant to a “provision

                                  21   requiring dismissal of complaints by individuals who have filed previously”); Californians for

                                  22   Renewable Energy, 2018 WL 1586211, at *8 (“The gravamen of Plaintiffs' claims is that the EPA

                                  23   failed to issue mandatory preliminary findings within 180 days of accepting their respective

                                  24   complaints for investigation, as required by 40 C.F.R. § 7.115.”). And the third case Plaintiff cites,

                                  25   People for the Ethical Treatment of Animals v. U.S. Dep't of Agric., 797 F.3d 1087, 1094 (D.C.

                                  26   Cir. 2015), applies an organizational standing analysis – it does not examine whether the plaintiff

                                  27   had shown procedural injury.

                                  28
                                                                                         15
                                       Case 3:21-cv-01626-EMC           Document 114           Filed 02/16/22     Page 16 of 20




                                   1          Plaintiff’s reliance on Committee for Full Employment v. Blumenthal is similarly

                                   2   misplaced. In Committee for Full Employment, the D.C. Circuit held that Plaintiffs had

                                   3   demonstrated procedural injury where they filed numerous charges of discrimination with the

                                   4   Office of Revenue Sharing pursuant to the “agency’s procedural regulations” which “entitled

                                   5   complainants to a review of their complaint,” but where Plaintiffs had not received any word of

                                   6   action by the agency on their complaints. 606 F.2d 1062, 1065 (D.C. Cir. 1979). The court

                                   7   reasoned that, “Complainants are injured if this procedural right is denied to them, regardless of

                                   8   whether their complaint is ultimately found meritorious” and that “the complaints that they have

                                   9   filed with [the agency] have not received the attention due under the Act and regulations.” Id.

                                  10   (emphasis added). Importantly, the D.C. Circuit found the Plaintiffs had established standing on

                                  11   their theory of procedural injury because “[a] court can redress [their] injury by, e.g., ordering [the

                                  12   agency] to process promptly [Plaintiffs’] complaints.” Id.
Northern District of California
 United States District Court




                                  13          Tellingly, the remedy Plaintiffs seek here is not an order directing the Department to

                                  14   “process promptly” Plaintiff’s complaint. Id. Instead, Plaintiff seeks to set aside and enjoin

                                  15   operation of the 2020 Regulations: a decidedly substantive remedy because Plaintiff’s complaint

                                  16   challenges substantive law. Cf. California v. Health & Hum. Servs., 281 F. Supp. 3d 806, 821–22

                                  17   (N.D. Cal. 2017), aff'd in relevant part in California v. Azar, 911 F.3d 558 (9th Cir. 2018)

                                  18   (“Plaintiffs have stated a procedural injury that is sufficient for the purposes of Article III

                                  19   standing. They assert that Defendants failed to comply with the APA's notice and comment

                                  20   requirement, resulting in Plaintiffs' being denied the opportunity to comment and be heard”).

                                  21   Vacatur of the 2020 Regulations is not a procedural remedy; it is not a request “that the agency

                                  22   follow the correct procedures.” Salmon Spawning & Recovery All. v. Gutierrez, 545 F.3d 1220,

                                  23   1226–27 (9th Cir. 2008). In the final analysis, Plaintiff seeks a “guarantee[d] . . . particular

                                  24   result.” Californians for Renewable Energy, 2018 WL 1586211, at *7.

                                  25          Indeed, the procedural injury of not being able to trigger an investigation by the

                                  26   Department, cannot be sustained here. After Plaintiff filed its First Amended Complaint, the

                                  27   Department’s Office for Civil Rights adjudicated the administrative complaint and opened an

                                  28   investigation on the basis of Plaintiff’s allegations. See Docket No. 111-1. Thus, assuming
                                                                                          16
                                       Case 3:21-cv-01626-EMC          Document 114        Filed 02/16/22      Page 17 of 20




                                   1   arguendo that Plaintiff had demonstrated a procedural right to an investigation under 34 C.F.R. §

                                   2   100.7(c), the Department has now acted on Plaintiff’s administrative complaint and has opened an

                                   3   investigation into BUSD based on Plaintiff’s allegations. See Docket No. 111-1, 112-2. Contrary

                                   4   to Plaintiff’s assertions, see Docket No. 111, nothing in the Department’s letter opening an

                                   5   investigation indicates that the Department declined to investigate any portion of Plaintiff’s

                                   6   administrative complaint. Cf. Docket No. 111-1 at 2 (OCR “understands [Plaintiff’s] allegations

                                   7   to be that [BUSD] has allowed a hostile environment on the basis of sex to exist at Berkeley High

                                   8   School by failing to respond promptly and effectively to incidents of sexual harassment at the

                                   9   School from the 2018-19 school year to the present . . . OCR is opening the complaint allegation

                                  10   for investigation.”).1

                                  11           Plaintiff contends that because the investigation decision confirms that the Department will

                                  12   evaluate its investigation of incidents that took place after August 14, 2020 under the 2020
Northern District of California
 United States District Court




                                  13   Regulations, “the crux of WSU’s standing theory—that WSU can no longer raise certain

                                  14   allegations before OCR, depriving it of an important procedural protection—remains the same.”

                                  15   Docket No. 111 at 2. However, the Department did open an investigation on the allegations that

                                  16   Plaintiffs fear are not cognizable under the 2020 Regulations. The Department did not decline to

                                  17   conduct an investigation on any grounds.

                                  18           To the extent Plaintiff contends that future complaints of incidents not cognizable under

                                  19   the 2020 Regulations will not be investigated by the Department, this assertion is speculative. Not

                                  20   only has the Department in fact opened an investigation of Plaintiff’s allegedly non-cognizable

                                  21   allegations, but nothing in 34 C.F.R. 100.7(c) or elsewhere in the regulatory framework prohibits

                                  22   the Department from deciding to open an investigation of a future complaint. At most, the

                                  23   regulations do not mandate an investigation be opened; it does not bar such investigations.

                                  24

                                  25   1
                                        Plaintiff asks the Court to read OCR”s summary of Plaintiff’s allegations as related to “sexual
                                  26   harassment at the School” to imply that OCR will not investigate any allegations in the complaint
                                       of incidents of sexual harassment that occurred outside of the school, per the 2020 Regulations.
                                  27   Docket No. 111. But the letter contains no language indicating that OCR has rejected any part of
                                       Plaintiff’s administrative complaint, that OCR is declining to address any allegations in the
                                  28   administrative complaints, nor that OCR applied the 2020 Regulations to deny any portion of the
                                       administrative complaint.
                                                                                        17
                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22     Page 18 of 20




                                   1          Plaintiff’s response to the Department’s decision to investigate the allegations in its

                                   2   administrative complaint underscores the flaws in Plaintiff’s theory of procedural injury. Plaintiff

                                   3   is not alleging any violations by the Department of procedural requirements. The Department has

                                   4   now acted on Plaintiff’s complaint, and has initiated the process of conducting an investigation.

                                   5          In summary, Plaintiff has not shown a cognizable injury because it has not satisfied the

                                   6   first prong of the procedural injury analysis: it has not alleged the Department violated its

                                   7   procedural rights in a manner that triggers a more lenient standard for standing. Thus, Plaintiff

                                   8   has not established that it has suffered procedural injury for purposes of Article III standing.

                                   9   C.     Leave to Amend

                                  10          The Court previously dismissed Plaintiff’s initial complaint because it determined that

                                  11   Plaintiff had not alleged facts sufficient to demonstrate organizational or associational standing.

                                  12   See generally Dismissal Order. The Court, however, identified the deficiencies in Plaintiff’s
Northern District of California
 United States District Court




                                  13   allegations in support of organizational and associational standing, see id. at 8-14, and granted

                                  14   Plaintiff leave to amend its complaint, id. at 14. For example, the Court previously held that

                                  15   Plaintiff failed “to plausibly allege that its members would otherwise have standing to sue in their

                                  16   own under the first prong of the associational standing test” because the initial complaint includes

                                  17   only

                                  18                  boilerplate allegations [that] merely speculate that the 2020
                                                      Regulations will lead BUSD to disregard certain sexual harassment
                                  19                  complaints; there are no specific allegations in the complaint that
                                                      BUSD has in fact disregarded a single sexual harassment complaint
                                  20                  or that a single student has chosen not to report or file a complaint
                                                      after suffering sexual harassment; let alone that there has been a
                                  21                  noticeable decline in sexual harassment reports at BHS or BUSD.
                                  22   Dismissal Order at 13-14. Plaintiff bolstered the factual allegations of injury in its amended

                                  23   complaint, see FAC ¶¶ 89, 91-92, 98, but did not expressly connect those allegations to the 2020

                                  24   Regulations. Additionally, Plaintiff pursued, for the first time, a different theory of standing in its

                                  25   opposition brief – associational standing based on procedural injury. See Opp. 22-23 (“WSU does

                                  26   not allege an organizational standing theory; WSU argues instead that is has been deprived of a

                                  27   procedural right”); 23 (“WSU’s standing does not depend on the 2020 Regulations causing

                                  28   students to stop reporting or BUSD to respond even less effectively than it did previously. The
                                                                                         18
                                       Case 3:21-cv-01626-EMC           Document 114          Filed 02/16/22    Page 19 of 20




                                   1   2020 Regulations deprive WSU of a procedural mechanism for obtaining redress for BUSD’s

                                   2   unwillingness to act.”), 26-27 (“Before the 2020 Regulations, WSU could seek administrative

                                   3   redress for certain instances of sexual harassment. Now, it cannot. That procedural deprivation

                                   4   threatens WSU and its members’ concrete interest in an educational environment free from sexual

                                   5   harassment and discrimination. WSU and its members therefore possess standing to challenge the

                                   6   2020 Regulations.”). As explained above, however, Plaintiff failed to establish standing under its

                                   7   theory of procedural injury because Plaintiff’s allegations are not cognizable under the doctrine of

                                   8   procedural injury.

                                   9          Although Plaintiff’s theory of procedural injury is insufficient to establish standing, the

                                  10   Court cannot exclude as futile the possibility that Plaintiff might still successfully amend its

                                  11   complaint to establish organizational or traditional associational standing by addressing the

                                  12   deficiencies the Court identified in its initial Dismissal Order. Thus, the Court grants Plaintiff
Northern District of California
 United States District Court




                                  13   leave to amend its complaint. See Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th

                                  14   Cir. 2003) (“Dismissal with prejudice and without leave to amend is not appropriate unless it is

                                  15   clear . . . that the complaint could not be saved by amendment.” (citation omitted)).

                                  16   D.     Motions to Intervene

                                  17          Also pending before the Court are motions to intervene as Defendants by the State of

                                  18   Texas and three groups – the Foundation for Individual Rights in Education, Independent

                                  19   Women’s Law Center, and Speech First, Inc. Docket Nos. 82, 88. Because the Court grants the

                                  20   Department’s motion to dismiss Plaintiff’s Firs Amended Complaint, the Court denies as moot the

                                  21   Proposed Intervenors’ motions. The Court’s denial without prejudice as to the Proposed

                                  22   Intervenors re-filing their respective motions if and when Plaintiff files a second amended

                                  23   complaint.

                                  24   ///

                                  25   ///

                                  26   ///

                                  27   ///

                                  28   ///
                                                                                         19
                                       Case 3:21-cv-01626-EMC           Document 114        Filed 02/16/22    Page 20 of 20




                                   1                                       IV.      CONCLUSION

                                   2          The Court GRANTS Defendant’s motion to dismiss the FAC for lack of subject matter

                                   3   jurisdiction because Plaintiff has failed to establish standing. Docket No. 89. Plaintiff’s FAC is

                                   4   dismissed with leave to amend. Plaintiff may file a second amended complaint within thirty (30)

                                   5   days of entry of this order. The Court DENIES as moot and without prejudice the motions to

                                   6   intervene. Docket Nos. 82, 88.

                                   7          This order disposes of Docket Nos. 82, 88, 89.

                                   8

                                   9          IT IS SO ORDERED.

                                  10

                                  11   Dated: February 16, 2022

                                  12
Northern District of California
 United States District Court




                                  13                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                  14                                                    United States District Judge
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